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AO 91 (Rev. 11/11) Criminal Complaint We
UNITED STATES DISTRICT COURT
for the Seti De oF tos
Southern District of Texas
DEC 11 201%
United States of America )
vi ) David J, Bradley, Clerk of Court
Elexis Kiera SIDNEY Case No
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 9, 2018 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC 2251(a) Used, persuaded, induced, or coerced any minor to engage in any sexually

explicit conduct for the purpose of producing any visual depiction of such
conduct knowing that such visual depiction will be transported or transmitted
using any means or facility of interstate or foreign commerce or in or affecting
interstate or foreign commerce or mailed, if that visual depiction was
produced or transmitted using materials that have been mailed, shipped, or
transported in or affecting interstate or foreign commerce by any means,
including by computer.

This criminal complaint is based on these facts:

See Attached Affidavit

om Continued on the attached sheet.

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Cy = : .
- a Complainant's signature

Marisa Schwartz, Special Agent
Printed name and title

Sworn to before me and signed in my presence.

Date, 12/11/2018 (Wrptrc ACs —$

oe cae Judge's signature

Houston, Texas Christina A. Bryan, U.S. Magistrate Judge

City and state:
Printed name and title

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AFFADAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Marisa Schwartz, being truly sworn and deposed state,

iL Tam a Special Agent with the Department of Homeland Security, Homeland Security
Investigations (HSI), assigned to the Office of the Special Agent in Charge, Houston, Texas. I have
been employed by Immigration & Customs Enforcement (ICE), Homeland Security Investigations
(HSI), as an HSI agent for approximately eleven years. | am currently assigned to the Cyber
Investigations Group and as part of my daily duties as an HSI agent assigned to this group, I investigate
criminal violations relating to child exploitation and child pornography including violations of Chapter
109A, Chapter 110 and Chapter 117, all contained within Title 18 of the United States Code. I have
received training in the area of child pornography and child exploitation, and I have had the opportunity
to observe and review examples of child pornography in various forms of media including computer
media. I have also participated in the execution of search warrants and arrest warrants; a number of

which involved child exploitation and child pornography offenses.

2. This affidavit is based on reports your affiant has read and conversations your affiant has
had with law enforcement officers and investigators involved in this investigation. This affidavit does
not set forth all of my knowledge in this matter but is intended only to show that there is probable cause

to believe that Elexis SIDNEY is in violation of Title 18 United States Code Section 2251 (a).

3. In December 2018, an HSI Buffalo Special Agent was performing undercover (UC)
investigations on the mobile messaging application Kik messenger. The HSI UC agent was in a private
Kik chat group and observed a Kik user [hereinafter referenced as “Kik Userl”] posting sexually
explicit material depicting children into this private Kik chat group.

4. On December 9, 2018, “Kik User1” posted an image of herself naked in the bathroom.
The image shows her face and the bathroom appears to have a maroon/red countertop.

5, On the same evening, “Kik User1” posted a video of herself in the bathtub with a nude,
pre-pubescent male child, approximately 2-3 years of age [hereinafter referenced as “minor victim”].
She is massaging her breasts and masturbating as the minor victim sits in front of her playing with the
water. This video constitutes child pornography.

6. On the same evening, “Kik Userl” posted a video with the minor victim and an adult

female in the same positions. The minor victim jumps up on to the adult female before then placing his
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hands between her legs and rubbing her vagina. This video constitutes child pornography. “Kik Userl”
then wrote, “He just stuck his finger in my pussy; That’s a first”; “It felt really good”; “God I m so
horny”. Another user states that she should “give it a kiss or a suck” to which the “Kik User1” replied,
“Once I’m locked away in my room I'll take care of it; Lol I’m nervous to suck when he’s awake”,
Another user encourages “Kik User1” to continue and “Kik Userl” says, “Ima drop my phone; I’ll try to
play with it if he lets me”.

a On the same evening, “Kik User1” posted a video of herself and the minor victim in the
bathtub. The minor victim is lying back between her legs as she plays with his penis. This video
constitutes child pornography. “Kik User1” then wrote, “I’ll probably have more fun later”; “Glad you
all enjoyed tho I was little nervous”. Another user replied that she couldn’t believe he touched her too
and “Kik User1” replied, “He does it on his own. Took a long time but I went at his pace. Been like a
year now almost 2”,

8. On December 10, 2018, HSI Buffalo submitted an emergency disclosure request to Kik

messenger for subscriber information relating to the “Kik Userl” Kik account. On the same day, Kik

responded and provided the following:

First name: Lexi

Lastname: (#TeamNoSleep):kiss:

Email: elexis.sidney@gmail.com (unconfirmed)
Registration: 2015/01/29 10:14:05

Device type: Android

Brand: Samsung

IP address: 108.208.151.18

Location: US

2. The only Internet Protocol (IP) address utilized within the last 30 days to log into the
“Kik Userl” Kik account was IP address 108.208.151.18.

10. A query within the MaxMind IP Geolocation online database revealed that IP address
108.208.151.18 geo-locates to Houston, Texas and is registered to the Internet Service Provider (ISP)
AT&T.

Ut. On the same day, HSI Buffalo served a U.S. Immigration and Customs Enforcement

summons to AT&T relating to IP address 108.208.151.18.
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[2, On the same day, HSI Buffalo utilized a publicly available website to query email
address elexis.sidney@gmail.com and discovered that the email address linked to a Facebook page for
an Elexis SIDNEY of Houston, Texas. A review of the Facebook page showed the same adult female
and minor victim that were depicted in the videos posted by “Kik User!” into the previously mentioned
Kik group. There are numerous photos on the Facebook page that depict the same adult female in the
same bathroom, with the maroon/red countertop as seen in the image previously described and uploaded
to Kik by “Kik User1” depicting her nude in the bathroom.

13. HSI Buffalo queried “Elexis SIDNEY in Houston, Texas” via a publicly available
website and discovered an Elexis SIDNEY (DOB: 10/15/1993) with a last listed address on Antoine
Drive in Houston, TX.

14. On the same day, HSI Buffalo contacted HSI Houston Cyber Investigations Group (CIG)
regarding “Kik Userl” possibly residing in the Houston area. Special Agent (SA) Marisa Schwartz
reviewed all evidentiary material relating to the “Kik Userl” Kik account and verified all information
received.

15. SA Schwartz located a Texas Driver License (TXDL) for Elexis SIDNEY with TXDL#
34970737. The listed address on the TXDL showed the address on Antoine Drive in Houston, TX.

16. On the same evening, HSI Buffalo received a response from AT&T for the summons
previously submitted for subscriber information pertaining to IP address 108.208.151.18. AT&T
provided a response which indicated that the subscribers address was the same address on Antoine Drive

in Houston, TX. The IP usage started on November 24, 2018.

17. On the same evening, HSI CIG Special Agents, with the assistance of state and local law
enforcement, conducted a knock and talk at Elexis SIDNEY’s residence. SIDNEY agreed to speak with
HSI Special Agents (SA) Marisa Schwartz and W. Russell Hurst. SIDNEY was issued her Miranda
warning by SA Schwartz in which she signed stating that she understood her rights and waived them.
During the interview, SIDNEY identified the Kik account she uses and it was determined to be the same
Kik account that was used to upload the child pornographic videos previously described. When asked
about the videos that were previously described depicting sexually explicit acts conducted with the
minor victim, SIDNEY broke down crying and confirmed she created those videos and it was her

depicted in the videos with the minor victim.
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18. During the knock and talk, the minor victim depicted in the child pornographic videos

was present at the residence and determined to be under the age of three years old.

19, Based on the foregoing facts, I respectfully request an arrest warrant be issued for Elexis

SIDNEY for violations of Title 18 United States Code Section 2251 (a).

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KAarisé Schwartz

Special Agent
Homeland Security Investigations

SUBSCRIBED and SWORN De
Before me this // day of october 201
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Christina A. Bryan
United States Magistrate Judge
Southern District of Texas

